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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


 COMMONWEALTH OF PENNSYLVANIA, et al.,

                                   Plaintiffs,

                           v.
                                                                 No. 20-cv-1719 (FYP)
 MIGUEL CARDONA, in his official capacity as
 Secretary of Education, et al.,

                                   Defendants.


                                      JOINT STATUS REPORT

           The parties respectfully submit this joint status report in order to inform the Court of the

current status of relevant new rulemaking by the Department of Education (“Department”).

           In the joint status report submitted June 7, 2022, the parties informed the Court that the

negotiated rulemaking process that addressed the possible need for new gainful employment

regulations had concluded without reaching a consensus and that the Department was in the

process of developing the regulations that will go through notice and comment rulemaking under

the Administrative Procedure Act. See Joint Status Report (ECF No. 44). The Department

continues to work toward issuing a Notice of Proposed Rulemaking. In recent public

announcements regarding the Department’s student loan debt relief plan, both the Department and

the White House confirmed the Administration’s commitment to promulgating regulations on

gainful employment. See Dep’t of Educ., Press Release, Biden-Harris Administration Announces

Final Student Loan Pause Extension Through December 31 and Targeted Debt Cancellation to

Smooth Transition to Repayment (Aug. 24, 2022) (“The agency will also propose to reinstate and

improve a rule to hold career programs accountable for leaving their graduates with unaffordable

debt.”),      available    at   https://www.ed.gov/news/press-releases/biden-harris-administration-
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announces-final-student-loan-pause-extension-through-december-31-and-targeted-debt-

cancellation-smooth-transition-repayment. White House, Fact Sheet: President Biden Announces

Student Loan Relief for Borrowers Who Need It Most (Aug. 24, 2022) (“The agency will also

propose a rule to hold career programs accountable for leaving their graduates with mountains of

debt they cannot repay, a rule the previous Administration repealed.”), available at

https://www.whitehouse.gov/briefing-room/statements-releases/2022/08/24/fact-sheet-president-

biden-announces-student-loan-relief-for-borrowers-who-need-it-most/.

       In light of these ongoing developments, the parties respectfully ask that the Court keep the

case in its current posture, with the Department’s pending motion to dismiss held in abeyance and

the parties ordered to submit a joint status every 90 days.



 September 6, 2022                                   Respectfully submitted,


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